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                                                                                                   INVOICE
                                                                                         From      Texas Appleseed
                                                                                                   1609 Shoal Creek Blvd
                                                                                                   Ste 201
                                                                                                   Austin, TX 78701




Invoice ID      53                                                                  Invoice For    Texas DFPS/HHSC
Issue Date      01/09/2024
Due Date        02/08/2024 (Net 30)
Subject         Texas Appleseed Monitoring Team; December
                2023




Item Type        Description                                                            Quantity         Unit Price             Amount

Service          Texas Foster Care Court Monitoring - Travel (12/01/2023 -                24.50            $188.21           $4,611.25
                 12/31/2023)

Expense          Expenses for Texas Foster Care Court Monitoring - Travel                   1.00         $3,070.12           $3,070.12
                 (12/01/2023 - 12/31/2023)

Service          Texas Foster Care Monitoring (12/01/2023 - 12/31/2023)                1,468.02            $294.94         $432,971.65

Expense          Expenses for Texas Foster Care Monitoring (12/01/2023 -                    1.00            $18.36              $18.36
                 12/31/2023)


                                                                                                   Amount Due           $440,671.38




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                                     INVOICE
                                                                                           From      Texas Appleseed
                                                                                                     1609 Shoal Creek Blvd
                                                                                                     Ste 201
                                                                                                     Austin, TX 78701




Invoice ID      53                                                                    Invoice For    Texas DFPS/HHSC
Issue Date      01/09/2024
Due Date        02/08/2024 (Net 30)
Subject         Texas Appleseed Monitoring Team; December
                2023




Item Type       Description                                                               Quantity         Unit Price          Amount

Service         Texas Foster Care Court Monitoring - Travel - 12/02/2023 -                    3.50          $212.50           $743.75
                EVE/WKND Travel / Deborah Fowler

Service         Texas Foster Care Court Monitoring - Travel - 12/03/2023 - Travel /           4.00          $197.50           $790.00
                Linda Brooke

Service         Texas Foster Care Court Monitoring - Travel - 12/03/2023 - Travel /           4.00          $162.50           $650.00
                Viveca Martinez

Service         Texas Foster Care Court Monitoring - Travel - 12/04/2023 - Travel /           1.50          $162.50           $243.75
                Victoria Foster

Service         Texas Foster Care Court Monitoring - Travel - 12/07/2023 - Travel /           3.50          $212.50           $743.75
                Deborah Fowler

Service         Texas Foster Care Court Monitoring - Travel - 12/07/2023 - Travel /           4.00          $197.50           $790.00
                Linda Brooke

Service         Texas Foster Care Court Monitoring - Travel - 12/07/2023 - Travel /           4.00          $162.50           $650.00
                Viveca Martinez

Expense         Expenses for Texas Foster Care Court Monitoring - Travel                      1.00         $3,070.12         $3,070.12
                (12/01/2023 - 12/31/2023)

Service         Texas Foster Care Monitoring - 12/01/2023 - Document                          3.17          $250.00           $792.50
                Review/Data Analysis/Verification Work / Catherine Morris

Service         Texas Foster Care Monitoring - 12/01/2023 - Document                          8.00          $250.00          $2,000.00
                Review/Data Analysis/Verification Work / Omarie Roque

Service         Texas Foster Care Monitoring - 12/01/2023 - Document                          5.00          $250.00          $1,250.00
                Review/Data Analysis/Verification Work / Sherry Mojica

Service         Texas Foster Care Monitoring - 12/01/2023 - Document                          1.75          $325.00           $568.75
                Review/Data Analysis/Verification Work / Victoria Foster


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Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   1.50   $325.00    $487.50
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   0.75   $395.00    $296.25
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   6.50   $325.00   $2,112.50
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   8.00   $300.00   $2,400.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 12/01/2023 -                            0.50   $395.00    $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information. / Linda
             Brooke

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   7.25   $395.00   $2,863.75
             Review/Data Analysis/Verification Work / Linda Brooke

Service      Texas Foster Care Monitoring - 12/01/2023 - EVE/WKND                   1.50   $425.00    $637.50
             Document Review/Data Analysis/Verification Work / Deborah
             Fowler

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   3.00   $425.00   $1,275.00
             Review/Data Analysis/Verification Work / Deborah Fowler

Service      Texas Foster Care Monitoring - 12/01/2023 - Project Management         0.75   $325.00    $243.75
             & Planning / Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   4.00   $200.00    $800.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   8.00   $325.00   $2,600.00
             Review/Data Analysis/Verification Work / Kristi Law

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   4.00   $200.00    $800.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   4.00   $200.00    $800.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/01/2023 -                            0.25   $250.00     $62.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information. / Daina
             Harper

Service      Texas Foster Care Monitoring - 12/01/2023 -                            7.75   $250.00   $1,937.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information. / Daina
             Harper

Service      Texas Foster Care Monitoring - 12/01/2023 - Meetings with              2.50   $200.00    $500.00
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/01/2023 - Document                   5.50   $200.00   $1,100.00
             Review/Data Analysis/Verification Work / Alyssa Baquera




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Service      Texas Foster Care Monitoring - 12/01/2023 -                            0.50   $325.00    $162.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information. / Viveca
             Martinez

Service      Texas Foster Care Monitoring - 12/02/2023 - EVE/WKND                   4.00   $425.00   $1,700.00
             Document Review/Data Analysis/Verification Work / Deborah
             Fowler

Service      Texas Foster Care Monitoring - 12/03/2023 - EVE/WKND Report            2.00   $425.00    $850.00
             and Document Preparation / Deborah Fowler

Service      Texas Foster Care Monitoring - 12/03/2023 - EVE/WKND Meetings          6.50   $425.00   $2,762.50
             with agency leadership, staff, clients, conference calls, time spent
             with team, plaintiffs consultants or other providers. / Deborah
             Fowler

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      8.00   $200.00   $1,600.00
             Adrian Gaspar

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   5.00   $250.00   $1,250.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.00   $325.00   $2,275.00
             Clarice Rogers

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   1.75   $325.00    $568.75
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      4.00   $250.00   $1,000.00
             Sherry Mojica

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      6.00   $325.00   $1,950.00
             Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   3.00   $325.00    $975.00
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      4.00   $250.00   $1,000.00
             Mahiri Moody

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      3.00   $250.00    $750.00
             Omarie Roque

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      4.00   $425.00   $1,700.00
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      3.00   $425.00   $1,275.00
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/04/2023 - EVE/WKND Judicial          1.00   $425.00    $425.00
             Proceeding / Deborah Fowler




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Service      Texas Foster Care Monitoring - 12/04/2023 - EVE/WKND Meetings          0.67   $425.00    $284.75
             with agency leadership, staff, clients, conference calls, time spent
             with team, plaintiffs consultants or other providers. / Deborah
             Fowler

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.00   $395.00   $2,765.00
             Beth Mitchell

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   2.00   $300.00    $600.00
             Review/Data Analysis/Verification Work / Monica Benedict

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.50   $325.00   $2,437.50
             Victoria Foster

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      0.50   $250.00    $125.00
             Deborah Borman

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      6.00   $200.00   $1,200.00
             Nora Sawyer

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   2.00   $200.00    $400.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.50   $250.00   $1,875.00
             Shay Price

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   0.50   $250.00    $125.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      8.00   $395.00   $3,160.00
             Linda Brooke

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   0.75   $325.00    $243.75
             Review/Data Analysis/Verification Work / Shelly Voss

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      6.50   $325.00   $2,112.50
             Shelly Voss

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   7.00   $250.00   $1,750.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.00   $200.00   $1,400.00
             Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   1.00   $200.00    $200.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      8.00   $325.00   $2,600.00
             Viveca Martinez

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   0.92   $250.00    $230.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/04/2023 - Document                   0.08   $250.00     $20.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/04/2023 - Judicial Proceeding /      7.00   $250.00   $1,750.00
             Catherine Morris




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Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   0.58   $395.00    $229.10
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   0.92   $395.00    $363.40
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   5.00   $250.00   $1,250.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      3.00   $250.00    $750.00
             Omarie Roque

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   8.75   $325.00   $2,843.75
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 12/05/2023 - EVE/WKND Meetings          0.50   $425.00    $212.50
             with agency leadership, staff, clients, conference calls, time spent
             with team, plaintiffs consultants or other providers. / Deborah
             Fowler

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      3.00   $425.00   $1,275.00
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      3.50   $425.00   $1,487.50
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/05/2023 - EVE/WKND Judicial          1.00   $425.00    $425.00
             Proceeding / Deborah Fowler

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   3.00   $250.00    $750.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      4.00   $250.00   $1,000.00
             Mahiri Moody

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   1.00   $325.00    $325.00
             Review/Data Analysis/Verification Work / Kristi Law

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   4.00   $325.00   $1,300.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   1.00   $325.00    $325.00
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   2.75   $325.00    $893.75
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      2.00   $325.00    $650.00
             Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   2.75   $325.00    $893.75
             Review/Data Analysis/Verification Work / Nancy Arrigona




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Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      7.00   $395.00   $2,765.00
             Linda Brooke

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   2.25   $325.00    $731.25
             Review/Data Analysis/Verification Work / Shelly Voss

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   2.00   $325.00    $650.00
             Review/Data Analysis/Verification Work / Shelly Voss

Service      Texas Foster Care Monitoring - 12/05/2023 - Report and                 2.00   $325.00    $650.00
             Document Preparation / Shelly Voss

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   7.00   $250.00   $1,750.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   9.00   $200.00   $1,800.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/05/2023 - Judicial Proceeding /      7.00   $325.00   $2,275.00
             Viveca Martinez

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   4.25   $250.00   $1,062.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   0.58   $250.00    $145.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/05/2023 - Document                   1.83   $250.00    $457.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                   2.00   $250.00    $500.00
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                   6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 12/06/2023 - Judicial Proceeding /      2.00   $250.00    $500.00
             Omarie Roque

Service      Texas Foster Care Monitoring - 12/06/2023 - EVE/WKND Meetings          0.50   $425.00    $212.50
             with agency leadership, staff, clients, conference calls, time spent
             with team, plaintiffs consultants or other providers. / Deborah
             Fowler




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Service      Texas Foster Care Monitoring - 12/06/2023 - Judicial Proceeding /   2.50   $425.00   $1,062.50
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/06/2023 - Judicial Proceeding /   3.00   $425.00   $1,275.00
             Deborah Fowler

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                5.00   $325.00   $1,625.00
             Review/Data Analysis/Verification Work / Kristi Law

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                5.25   $395.00   $2,073.75
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                7.75   $325.00   $2,518.75
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                2.50   $325.00    $812.50
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                8.25   $325.00   $2,681.25
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/06/2023 - Judicial Proceeding /   6.50   $395.00   $2,567.50
             Linda Brooke

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                7.00   $250.00   $1,750.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                1.00   $250.00    $250.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                6.00   $325.00   $1,950.00
             Review/Data Analysis/Verification Work / Viveca Martinez

Service      Texas Foster Care Monitoring - 12/06/2023 - Judicial Proceeding /   6.83   $325.00   $2,219.75
             Viveca Martinez

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                2.83   $250.00    $707.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/06/2023 -                         0.08   $250.00     $20.00
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information. /
             Catherine Morris

Service      Texas Foster Care Monitoring - 12/06/2023 - Document                1.50   $250.00    $375.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                6.00   $250.00   $1,500.00
             Review/Data Analysis/Verification Work / Sherry Mojica

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                8.00   $300.00   $2,400.00
             Review/Data Analysis/Verification Work / Monica Benedict




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Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   5.50   $250.00   $1,375.00
             Review/Data Analysis/Verification Work / Omarie Roque

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   7.75   $250.00   $1,937.50
             Review/Data Analysis/Verification Work / Mahiri Moody

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   6.50   $395.00   $2,567.50
             Review/Data Analysis/Verification Work / Beth Mitchell

Service      Texas Foster Care Monitoring - 12/07/2023 - Meetings with              0.25   $325.00     $81.25
             agency leadership, staff, clients, conference calls, time spent with
             team, plaintiffs consultants or other providers. / Victoria Foster

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   1.50   $325.00    $487.50
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   7.25   $325.00   $2,356.25
             Review/Data Analysis/Verification Work / Nancy Arrigona

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   6.25   $325.00   $2,031.25
             Review/Data Analysis/Verification Work / Victoria Foster

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   7.45   $325.00   $2,421.25
             Review/Data Analysis/Verification Work / Clarice Rogers

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   8.00   $200.00   $1,600.00
             Review/Data Analysis/Verification Work / Adrian Gaspar

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   8.00   $250.00   $2,000.00
             Review/Data Analysis/Verification Work / Shay Price

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   4.00   $200.00    $800.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   4.00   $200.00    $800.00
             Review/Data Analysis/Verification Work / Nora Sawyer

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   0.50   $250.00    $125.00
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   6.25   $250.00   $1,562.50
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   1.25   $250.00    $312.50
             Review/Data Analysis/Verification Work / Daina Harper

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   7.50   $200.00   $1,500.00
             Review/Data Analysis/Verification Work / Alyssa Baquera

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   4.00   $325.00   $1,300.00
             Review/Data Analysis/Verification Work / Viveca Martinez

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   3.33   $250.00    $832.50
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/07/2023 - Document                   3.58   $250.00    $895.00
             Review/Data Analysis/Verification Work / Catherine Morris

Service      Texas Foster Care Monitoring - 12/08/2023 - Document                   1.00   $325.00    $325.00
             Review/Data Analysis/Verification Work / Kristi Law

Service      Texas Foster Care Monitoring - 12/08/2023 - Document                   4.50   $395.00   $1,777.50
             Review/Data Analysis/Verification Work / Beth Mitchell


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Service       Texas Foster Care Monitoring - 12/08/2023 - Document           3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           8.25   $325.00   $2,681.25
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           4.75   $325.00   $1,543.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 12/08/2023 - EVE/.WKND          1.50   $425.00    $637.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Deborah Fowler

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           5.00   $200.00   $1,000.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           4.00   $395.00   $1,580.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           2.75   $250.00    $687.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/08/2023 - Document           7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Alyssa Baquera




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Service       Texas Foster Care Monitoring - 12/08/2023 - Project Management        4.00   $425.00   $1,700.00
              & Planning / Deborah Fowler

Service       Texas Foster Care Monitoring - 12/08/2023 - Document                  8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/08/2023 - Document                  0.25   $250.00     $62.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/08/2023 - Document                  1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/09/2023 - EVE/WKND                  3.50   $425.00   $1,487.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/09/2023 - EVE/WKND                  4.00   $425.00   $1,700.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/10/2023 - EVE/WKND                  5.00   $425.00   $2,125.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/11/2023 -                           0.75   $200.00    $150.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Adrian
              Gaspar

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  7.25   $200.00   $1,450.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 12/11/2023 - EVE/WKND                  1.50   $425.00    $637.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  8.00   $395.00   $3,160.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                  5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Clarice Rogers




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Service       Texas Foster Care Monitoring - 12/11/2023 - Document                8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                1.50   $325.00    $487.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                4.50   $325.00   $1,462.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                8.50   $200.00   $1,700.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/11/2023 - Report and              2.25   $325.00    $731.25
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/11/2023 - EVE/WKND                3.25   $425.00   $1,381.25
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                0.08   $250.00     $20.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/11/2023 -                         0.17   $250.00     $42.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris

Service       Texas Foster Care Monitoring - 12/11/2023 - Document                3.17   $250.00    $792.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                6.75   $250.00   $1,687.50
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                7.75   $250.00   $1,937.50
              Review/Data Analysis/Verification Work / Shay Price

Service       Texas Foster Care Monitoring - 12/12/2023 -                         0.25   $250.00     $62.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Shay
              Price




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Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   7.25   $395.00   $2,863.75
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Deborah Borman

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   0.25   $250.00     $62.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/12/2023 -                            0.50   $395.00    $197.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Beth
              Mitchell

Service       Texas Foster Care Monitoring - 12/12/2023 - Meetings with              3.00   $200.00    $600.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/12/2023 - Report and                 2.00   $325.00    $650.00
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   2.50   $425.00   $1,062.50
              Review/Data Analysis/Verification Work / Deborah Fowler

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/12/2023 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/13/2023 - Meetings with              0.75   $250.00    $187.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   5.75   $250.00   $1,437.50
              Review/Data Analysis/Verification Work / Mahiri Moody


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Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/13/2023 - EVE/WKND                   1.00   $425.00    $425.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   6.00   $395.00   $2,370.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Deborah Borman

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   2.25   $325.00    $731.25
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/13/2023 - Report and                 3.50   $325.00   $1,137.50
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/13/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/14/2023 - Meetings with              0.50   $395.00    $197.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                   2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                   5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                   8.00   $395.00   $3,160.00
              Review/Data Analysis/Verification Work / Linda Brooke




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Service       Texas Foster Care Monitoring - 12/14/2023 - EVE/WKND                1.50   $425.00    $637.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/14/2023 -                         0.50   $395.00    $197.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Beth
              Mitchell

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                8.50   $200.00   $1,700.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/14/2023 - Report and              4.00   $325.00   $1,300.00
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/14/2023 - Document                1.33   $250.00    $332.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                3.00   $395.00   $1,185.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/15/2023 - Project Management      1.50   $395.00    $592.50
              & Planning / Linda Brooke

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                3.00   $300.00    $900.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Clarice Rogers

Service       Texas Foster Care Monitoring - 12/15/2023 - EVE/WKND                1.50   $425.00    $637.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Deborah Borman

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                4.00   $200.00    $800.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                1.25   $395.00    $493.75
              Review/Data Analysis/Verification Work / Beth Mitchell


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Service       Texas Foster Care Monitoring - 12/15/2023 -                            0.50   $395.00    $197.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Beth
              Mitchell

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                   4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                   6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/15/2023 - Meetings with              0.83   $325.00    $269.75
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/15/2023 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/16/2023 - EVE/WKND                   3.50   $425.00   $1,487.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/16/2023 - Document                   1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/17/2023 - Meetings with              3.25   $395.00   $1,283.75
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/17/2023 - Document                   2.50   $395.00    $987.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/17/2023 - EVE/WKND                   5.50   $425.00   $2,337.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   2.50   $425.00   $1,062.50
              Review/Data Analysis/Verification Work / Deborah Fowler

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   3.75   $395.00   $1,481.25
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/18/2023 - Meetings with              0.50   $395.00    $197.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   9.00   $200.00   $1,800.00
              Review/Data Analysis/Verification Work / Alyssa Baquera



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Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/18/2023 - Meetings with              0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Victoria Foster

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   0.50   $325.00    $162.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   8.25   $395.00   $3,258.75
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/18/2023 - EVE/WKND                   1.50   $425.00    $637.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   2.08   $250.00    $520.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/18/2023 - Meetings with              0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Catherine Morris

Service       Texas Foster Care Monitoring - 12/18/2023 - Document                   2.17   $250.00    $542.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/19/2023 - Project Management         0.50   $425.00    $212.50
              & Planning / Deborah Fowler

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Alyssa Baquera

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Omarie Roque

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Sherry Mojica

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   6.00   $300.00   $1,800.00
              Review/Data Analysis/Verification Work / Monica Benedict

Service       Texas Foster Care Monitoring - 12/19/2023 - Project Management         2.00   $300.00    $600.00
              & Planning / Monica Benedict

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Victoria Foster



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Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   0.75   $325.00    $243.75
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/19/2023 - Report and                 0.25   $325.00     $81.25
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   6.00   $395.00   $2,370.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/19/2023 - Meetings with              1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent with
              team, plaintiffs consultants or other providers. / Linda Brooke

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   2.50   $425.00   $1,062.50
              Review/Data Analysis/Verification Work / Deborah Fowler

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   0.58   $250.00    $145.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/19/2023 - Document                   5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   3.75   $325.00   $1,218.75
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   1.75   $325.00    $568.75
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/20/2023 - Report and                 0.50   $325.00    $162.50
              Document Preparation / Shelly Voss

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   2.50   $395.00    $987.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/20/2023 - EVE/WKND                   4.50   $425.00   $1,912.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/20/2023 - Project Management         4.00   $395.00   $1,580.00
              & Planning / Linda Brooke

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Nancy Arrigona




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Service       Texas Foster Care Monitoring - 12/20/2023 -                            1.00   $395.00    $395.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. / Beth
              Mitchell

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/20/2023 - Document                   7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.67   $325.00    $217.75
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Victoria Foster

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   5.00   $395.00   $1,975.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Daina Harper

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.33   $325.00    $107.25
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Shelly Voss

Service       Texas Foster Care Monitoring - 12/21/2023 - EVE/WKND Meetings          1.33   $425.00    $565.25
              with agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Nancy Arrigona

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   3.25   $395.00   $1,283.75
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Viveca Martinez

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.33   $250.00     $82.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/21/2023 - Document                   0.67   $250.00    $167.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/22/2023 - Document                   5.50   $395.00   $2,172.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/22/2023 - EVE/WKND                   3.00   $425.00   $1,275.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler




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Service       Texas Foster Care Monitoring - 12/22/2023 - EVE/WKND        4.25   $425.00   $1,806.25
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/22/2023 - Document        1.17   $395.00    $462.15
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/23/2023 - EVE/WKND        3.50   $425.00   $1,487.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/23/2023 - EVE/WKND        3.00   $425.00   $1,275.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/23/2023 - Document        4.25   $395.00   $1,678.75
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/24/2023 - Document        3.00   $395.00   $1,185.00
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/24/2023 - Document        2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/25/2023 - Document        3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Beth Mitchell

Service       Texas Foster Care Monitoring - 12/25/2023 - Document        0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/27/2023 - Document        5.50   $395.00   $2,172.50
              Review/Data Analysis/Verification Work / Linda Brooke

Service       Texas Foster Care Monitoring - 12/27/2023 - EVE/WKND        2.00   $425.00    $850.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/27/2023 - EVE/WKND        2.50   $425.00   $1,062.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/28/2023 - EVE/WKND        4.50   $425.00   $1,912.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/28/2023 - Document        0.67   $250.00    $167.50
              Review/Data Analysis/Verification Work / Catherine Morris

Service       Texas Foster Care Monitoring - 12/29/2023 - EVE/WKND        4.50   $425.00   $1,912.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/30/2023 - EVE/WKND        2.50   $425.00   $1,062.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Service       Texas Foster Care Monitoring - 12/31/2023 - EVE/WKND        2.50   $425.00   $1,062.50
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler

Expense       Expenses for Texas Foster Care Monitoring (12/01/2023 -     1.00    $18.36     $18.36
              12/31/2023)




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                                                                                                  Amount Due            $440,671.38




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense report for                                                 Texas Appleseed
Invoice 53

12/02/2023                               $130.35

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Deborah Fowler
Drive to Dallas for contempt hearing/meeting with
Judge [199.0 miles]




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12/03/2023                           $1,629.64

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Linda Brooke
Hotel rooms for two monitors




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12/03/2023                              $319.64

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel to/from Court hearing. Dec 3 and Dec 7
[488.0 miles]




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12/03/2023                              $26.60

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
2 staff meals harwood tavern




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12/04/2023                              $20.59

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
2 staff meals starbucks




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12/04/2023                             $163.52

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
5 staff meals CBD Provisions




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12/04/2023                              $84.60

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
3 staff meals Mi Cocina




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12/05/2023                              $27.10

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
2 staff lunch Two Wings Coffee




12/05/2023                              $18.00

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
hotel parking




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12/05/2023                              $40.83

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
2 staff meals panera




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12/06/2023                             $150.41

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
3 staff meals CBD Provisions




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12/06/2023                              $36.90

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
2 staff meals the dock




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12/06/2023                              $15.00

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
hotel parking




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12/06/2023                             $258.07

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Viveca Martinez
394 Miles round trip [394.0 miles]




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12/06/2023                               $138.21

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Deborah Fowler
Drive from Dallas to home (Llano) after contempt
hearing [211.0 miles]




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12/07/2023                              $10.66

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
meal one monitor




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12/04/2023                               $4.09

Client    Texas DFPS/HHSC
Project   Texas Foster Care Monitoring
Category Meals
Person    Deborah Fowler
Deborah Fowler - Starbucks Coffee




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12/06/2023                           $14.27

Client    Texas DFPS/HHSC
Project   Texas Foster Care Monitoring
Category Meals
Person    Deborah Fowler
Deborah Fowler - Lunch




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